          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 1 of 34



                                                                 Honorable Thomas S. Zilly
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 8
                                   U.S. DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON

10
       STRIKE 3 HOLDINGS, LLC, a Delaware
11     corporation,
                                            Case No.: 2:17-cv-01731-TSZ
12
                              Plaintiff,
                                            DECLARATION OF J. CHRISTOPHER
13
               vs.                          LYNCH
14
       JOHN DOE, subscriber assigned IP
15     address 73.225.38.130,
16
                              Defendant.
17

18

19

20

21

22

23

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25

26
27

                                                                  EDMONDSON IP LAW
                                                        Venture Commerce Center, 3699 NE John Olsen Ave.
     CASE NO.: 2:17-CV-01731-TSZ - 1                                 Hillsboro, Oregon 97124
                                                              TEL. 503.336.3749  FAX 503.482.7418
           Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 2 of 34




 1                                                    TABLE OF CONTENTS

 2 A.       Mr. Arheidt and Mr. Perino state differing work histories in differing declarations. 2 
            1.         Nu Image: Perino and Arheidt at USCG and Guardaley. ............................... 3 
 3
     B.     Achte/Neunte: Perino and Achache at USCG and Guardaley.................................... 4 
 4          1.         Perino and Achache: Use of photocopied signatures. .................................... 5 
 5 C.       Shirokov v. U.S. Copyright Group, Guardaley, et al., D. MA. .................................. 6 
   D.       Malibu Media and Tobias Fieser: Guardaley’s pornography cases. .......................... 7 
 6
            1.         Guardaley’s non-pornography cases after spring 2012. ................................. 9 
 7 E.       Mr. Lowe’s filing history does not align with his declaration about Crystal Bay
            Corporation. .............................................................................................................. 11 
 8
            1.         Current representations by Mr. Lowe about Crystal Bay Corporation. ....... 11 
 9          2.         Dallas Buyers Club: Daniel Macek at Crystal Bay Corporation .................. 12 
            3.         Elf-Man: Daniel Macek at Crystal Bay Corporation .................................... 14 
10
            4.         Crystal Bay Corporation: Explanation provided under Court Order............ 15 
11          5.         Canal Street Films, LLC: William Gorfein at IP Squared............................ 16 
12 F.       Mr. Lowe’s representations about “Darren M. Griffin” do not align with the
            apparent facts. ........................................................................................................... 19 
13          1.         Mr. Lowe tells this District that “Darren M. Griffin” exists. ....................... 19 
14          2.         Mr. Lowe told E.D. WA that “Darren M. Griffin” exists. ........................... 20 
            3.         Mr. Lowe incorrectly claims that no declarations of “Darren M. Griffin”
15                     have been filed in this District. Scores of them have been filed in W.D.
                       WA. .............................................................................................................. 21 
16
            4.         “Darren M. Griffin” is likely fictitious. ........................................................ 22 
17          5.         Use of “Darren M. Griffin” declarations with Judge Lasnik........................ 23 

18          6.         “Darren M. Griffin” declarations in other Districts...................................... 25 
            7.         “Darren M. Griffin” is connected to each of the non-pornography
19                     declarants. ..................................................................................................... 25 
            8.         The typed up charts of alleged infringement cannot be direct output of a
20
                       computer program. ....................................................................................... 31 
21 G.       Conclusion ................................................................................................................ 32 

22

23

24
                                                                                  LEE & HAYES, PLLC
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                                                                                  Spokane, Washington 99201
                                                                                  Telephone: (509) 324-9256 Fax: (509) 323-8979
          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 3 of 34




 1          J. CHRISTOPHER LYNCH declares under penalty of perjury as follows:

 2         1.       I am over the age of 18, competent to be a witness herein, and make this declaration

 3 on personal knowledge.

 4         2.       I have represented defendants in other Bit Torrent cases filed by David Allen Lowe’s

 5 law firm in this District, although not in these Venice PI cases. Both the Court’s Order to Show

 6 Cause, Dkt. #32, and Plaintiff’s Response, Dkt. #33, cite me by name. This prompts this response

 7 to clarify facts I have discovered. I respectfully request that the Court entertain this declaration and

 8 I would testify in Court if requested to do so.

 9         3.       I submit this declaration in response to the Declarations of Daniel Arheidt, Dkt. #37;

10 David Lowe, Dkt. #38, and Benjamin Perino, Dkt. #39 in lead case number 2:17-cv-988-TSZ.

11         4.       Mr. Perino’s declaration at paragraphs 4-18 provides a detailed work background

12 that does not include “U.S. Copyright Group,” for which Mr. Perino submitted numerous

13 declarations in other Districts. Dkt. #39. My declaration documents those instances.

14         5.       Mr. Arheidt’s declaration at paragraphs 7-17 provides a detailed work background

15 that seems to contradict his claimed work history in a declaration in the District of Columbia. Dkt.

16 #37. My declaration documents those instances.

17         6.       Mr. Lowe’s declaration, Dkt. #38, at paragraphs 7-8 provides an explanation that no

18 declarations regarding “Crystal Bay Corporation” and “Darren M. Griffin” have been filed in this

19 District—but they have been filed in this District. My declaration documents those instances.

20         7.       I provide significant detail below to support these three principal points as

21 completely as possible. I apologize to the Court for the density of the information and length of this

22 document. The subject matter warrants the detail.

23

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 4 of 34




 1         8.       All documents cited in this declaration are PACER records. Because proving the

 2 points requires numerous documents, all filed in the United States District Courts, I have not

 3 attached paper copies of the cited references, only a reference to the District, the case number, and

 4 the ECF number of the cited pleading or exhibit. Also, this declaration includes inserted graphics

 5 which are copies of signatures from some cited PACER records. I have faithfully reproduced these

 6 signatures to the best of my staff member’s ability, but the originals remain in PACER for review.

 7 I will provide hard copies of the citations to ECF materials if requested.

 8         9.       I have used PACER search techniques to thoroughly investigate Bit Torrent

 9 litigation, particularly the non-pornography cases. There are thousands of cases in numerous (but

10 not all) Districts over the past nine years. I have discovered certain facts that are inconsistent with

11 the declarations of Messrs. Perino, Arheidt, and Lowe filed in these cases. These inconsistencies

12 seem relevant to the administration of justice and compel me to make this declaration.

13         10.      I have concluded that a fictitious declarant, “Darren M. Griffin,” claiming a

14 relationship to “Crystal Bay Corporation” of South Dakota “in its technical department,” was used

15 to obtain Subpoenas in hundreds of cases, including numerous cases in this District. The

16 declarations in this case of Messrs. Perino, Arheidt, and Lowe do not claim any relationship to

17 “Darren M. Griffin,” however there is a direct connect between “Darren M. Griffin” and declarants

18 Perino, Arheidt, and Lowe. My declaration documents those connections.

19 A.       Mr. Arheidt and Mr. Perino state differing work histories in differing declarations.

20         11.      In 2010, starting in the District of Columbia, non-pornography BitTorrent movie

21 lawsuits began being filed. The majority include a declaration of Mr. Perino, who filed declarations

22 between 2010 and 2012 in cases against over 10,000 individuals. Mr. Perino claimed a relationship

23 to “U.S. Copyright Group.” Mr. Perino’s declarations were filed with declarations of Patrick

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 5 of 34




 1 Achache claiming a relationship to Guardaley, Limited. In those cases, Mr. Arheidt filed at least

 2 one declaration that was identical to Mr. Achache’s, including the personal background. These

 3 2010-2012 declarations are inconsistent with Mr. Perino’s current declaration, Dkt. #39, and Mr.

 4 Arheidt’s current declaration, Dkt. #37.

 5          1.      Nu Image: Perino and Arheidt at USCG and Guardaley.

 6         12.      In Nu Image, Inc. v. Does 1-6500, D. DC, case no. 1:11-cv-301, Mr. Arheidt’s

 7 declaration is ECF No. 5-2, signed February 17, 2011. Mr. Arheidt’s 2011 declaration claims more

 8 technical experience than Mr. Arheidt’s 2018 declaration, Dkt. #37, ¶¶ 7-17, would seem to make

 9 possible. Mr. Arheidt’s 2011 declaration:

10          I am Director of Data Services for Guardaley, Limited (‘Guardaley’), a company
            incorporated in England and Wales under company number 06576149. Guardaley is
11          a provider of online anti-piracy services for the motion picture industry. Before my
            employment with Guardaley, I held various software developer and consultant
12          positions at companies that developed software technologies. I have approximately
            ten (10) years of experience related to the protocols, technical architecture and
13          operation of the Internet.

14 (ECF No. 5-2 at ¶ 1, the “ten-years experience paragraph.”)

15          At Guardaley, I am the head of the department that carries out evidence collection
            and provides litigation support services. I work closely with our development team
16          to create credible techniques to scan for, detect, and download copies of copyrighted
            material on multiple network protocols for use by copyright owners.
17
     (ECF No. 5-2 at ¶ 2, the “credible techniques paragraph.”)
18
           13.      Mr. Perino’s declaration in that same Nu Image case is ECF No. 5-1, signed
19
     February 11, 2011. Mr. Perino’s 2011 declaration claims a position at “U.S. Copyright Group” that
20
     is not disclosed in his 2018 declaration’s recitation of relevant work history. Dkt. #39 at ¶¶ 4-18.
21
     Mr. Perino’s 2011 declaration:
22
            I am one of four Managers of the US Copyright Group (USCG) which is a private
23          company dedicated to anti-piracy efforts in the motion picture industry involving

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 6 of 34




 1          unlawful P2P downloading. I submit this declaration in support of Plaintiff’s Motion
            for Leave to Take Discovery Prior to Rule 26(f) Conference.
 2
     (ECF No. 5-1 at ¶1.)
 3
            The Internet is a vast collection of interconnected computers and computer networks
 4          that communicate with each other . . . .

 5 (ECF No. 5-1 at ¶ 4, the “vast collection paragraph.”)

 6          In order to assist Plaintiff in combating infringement on P2P networks, the USCG
            retained Guardaley Limited (‘Guardaley’), a company incorporated in England and
 7          Wales under company number 06576149. Guardaley provides anti-piracy and
            copyright protection services through sophisticated technology and proprietary
 8          technology and software programs. See Decl. of Daniel Arheidt.

 9 (ECF No. 5-1 at ¶ 10.)

10         14.     In this Nu Image case, Mr. Arheidt’s declaration is 18 paragraphs in length, and Mr.

11 Perino’s is 13 paragraphs. Mr. Perino filed identical (13 paragraph) declarations in similar cases

12 filed from 2010 through 2012, usually filed with a declaration of Patrick Achache (instead of Mr.

13 Arheidt.)

14 B.       Achte/Neunte: Perino and Achache at USCG and Guardaley.

15         15.     The earliest example of declarations of Messrs. Perino and Achache is Achte/Neunte

16 v. Does 1-2094, D. DC, case no. 1:10-cv-453.

17         16.     Mr. Perino’s (13 paragraph) declaration is ECF No. 4-1; it is identical to Mr. Perino’s

18 Nu Image declaration above.

19         17.     Mr. Achache’s declaration is ECF No. 4-2; it is identical to Mr. Arheidt’s Nu Image

20 declaration above, including, for example the “ten years experience paragraph” and the “credible

21 techniques paragraph.” In the Achte/Neunte case, Mr. Achache claims:

22          I am Director of Data Services for Guardaley, Limited (‘Guardaley’), a company
            incorporated in England and Wales under company number 06576149. Guardaley is
23          a provider of online anti-piracy services for the motion picture industry. Before my
            employment with Guardaley, I held various software developer and consultant
24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 7 of 34




 1          positions at companies that developed software technologies. I have approximately
            ten (10) years of experience related to the protocols, technical architecture and
 2          operation of the Internet.

 3 (ECF No. 4-2 at ¶ 1, the “ten-years experience paragraph.”)

 4          At Guardaley, I am the head of the department that carries out evidence collection
            and provides litigation support services. I work closely with our development team
 5          to create credible techniques to scan for, detect, and download copies of copyrighted
            material on multiple network protocols for use by copyright owners.
 6
     (ECF No. 4-2 at ¶ 2, the “credible techniques paragraph.”)
 7
           18.     I used PACER search techniques to isolate copyright cases filed during certain
 8
     periods, looking for common witnesses and other commonalities. I did this for successive time
 9
     periods from 2009 to the present. Other 2010-2012 declarations of Mr. Perino and Mr. Achache
10
     seem to have photocopied signatures, or other anomalies.
11
            1.     Perino and Achache: Use of photocopied signatures.
12
           19.     For example, Mr. Achache’s declaration in West Bay One v. Does 1-2,000 (aka
13
     Maverick Entertainment Group, Inc. v. Does 1-1,000) in D. DC, case no. 1:10-cv-569, ECF No. 4-
14
     2, filed April 16, 2010, appears to have a photocopied date-line and signature from ECF No. 4-2 of
15
     Mr. Achache’s Achte/Neunte declaration cited above. Mr. Perino’s declarations in those two cases,
16
     ECF No. 4-1 in both cases, also appear to have a photocopied date-line and signature.
17
     4/16/10 D. DC 10-cv-569 [4-2]                   3/18/10 D. DC 10-cv-453 [4-2]
18

19

20

21
     3/18/10 D. DC 10-cv-453 [4-1]                   4/16/10 D. DC 10-cv-569 [4-1]
22

23

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 8 of 34




 1         20.     Other examples of photocopied signatures are Mr. Achache’s declarations in (i) Nu

 2 Image v. Does 1-2,165, D. MD, case no. 8:12-599, ECF No. 4-2; (ii) Nu Image v. Does 1-2,515,

 3 M.D, FL, case no. 2:12-cv-109, ECF No. 8-2; (iii) Nu Image v. Does 1-359, M.D. FL, case no. 2:12-

 4 cv-359, ECF No. 6-3; and (iv) Nu Image v. Does 1-18, E.D. PA, case no. 2:12-cv-4755, ECF No.

 5 4-2.

 6         21.     Examples of photocopied signatures for Mr. Perino include declarations in (i) Nu

 7 Image v. Does, ND FL, case no. 4:12-cv-331, ECF No. 5-2; and (ii) Studio West v. Does, SD TX,

 8 case no. 4:12-CV-3691, ECF No. 5-2.

 9         22.     Mr. Perino claimed to work for U.S. Copyright Group in each of the 2010-2011 cases

10 where Mr. Achache (and Mr. Arheidt) claimed to work for Guardaley. Then, in March 2012, Mr.

11 Perino’s declarations’ opening paragraph changed, eliminating any current or future reference to

12 “U.S. Copyright Group” as copied verbatim below:

13          I am a Manager for Guardaley, Limited (‘Guardaley’), a company incorporated in
            England and Wales under company number 06576149. Guardaley is a provider of
14          online anti-piracy services for the motion picture industry. I submit this declaration
            in support of Plaintiff’s Motion for Leave to Take Discovery and for Internet Service
15          Providers to Disclose Identifying Information of Unknown Defendants. [SIC]

16 (Nu Image v. Does 1-2,165, D. MD, case no. 8:12-cv-599, ECF No. 4-1.)

17          23.    It may be that Shirokov v. US Copyright Group and Guardaley, a federal lawsuit

18 alleging fraud in copyright litigation, influenced this change.

19 C.       Shirokov v. U.S. Copyright Group, Guardaley, et al., D. MA.

20          24.    During 2010-2012, Guardaley and U.S. Copyright Group became defendants in a

21 lawsuit alleging litigation abuse. Shirokov v. Dunlap Grubb and Weaver, et al., D. MA, case no.

22 1:10-cv-12043 was filed November 24, 2010 against Achte/Nenute (the copyright Plaintiff cited

23

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 9 of 34




 1 above); U.S. Copyright Group; Guardaley, Limited; and lawyers Nicholas Kurtz, Thomas Dunlap,

 2 and Dunlap, Grubb and Weaver PLLC.

 3          25.    Guardaley moved to dismiss, claiming Guardaley was not subject to personal

 4 jurisdiction, given its purported location in “England and Wales.” ECF Nos. 42, 44. The plaintiff

 5 opposed, submitting documents about Guardaley’s location, systems, and relationships to Mr.

 6 Perino and U.S. Copyright Group. ECF No. 56. Guardaley moved to strike those documents, ECF

 7 No. 58, as inconsistent with its Rule 12 Motion.

 8          26.    On March 27, 2012, Judge O’Toole dismissed Guardaley for lack of personal

 9 jurisdiction. ECF No. 90 at 21-27.

10          27.    Following dismissal of Guardaley, it does not appear from my PACER searching

11 that Guardaley was overt about its role in Bit Torrent cases in the U.S. District Court system. No

12 new plaintiffs used declarations of Messrs. Perino, Achache, or Arheidt. Guardaley was not

13 mentioned in newly filed cases.

14          28.    From what I can discern, Guardaley’s pornography cases apparently continued to

15 claim “IPP” as the purported investigator. From what I can discern, Guardaley’s non-pornography

16 cases in 2012 moved primarily to claiming “Crystal Bay Corporation” as the purported investigator.

17 D.       Malibu Media and Tobias Fieser: Guardaley’s pornography cases.

18         29.     Certain currently filed pornography cases, e.g. Strike 3 v. Does in this District, e.g.

19 case no. 17-cv-1729, Dkt. #4-3, claim that German company IPP conducted the investigation using

20 IPP employee Tobias Fieser.

21         30.     Mr. Feiser has consistently claimed to be an employee of IPP. Mr. Perino’s present

22 declaration claims Mr. Feiser is an employee of Guardaley, as well as IPP. Dkt. #39 at ¶ 20.

23 (Karlsruhe is 625 kilometers south of Hamburg.)

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 10 of 34




 1         31.      Other than Mr. Feiser’s opening paragraph and references to “IPP” instead of

 2 “Guardaley,” Mr. Fieser’s declaration in the pornography case Digital Content v. Does, D. MD,

 3 case no. 8:10-cv-3403, ECF No. 5-2 is identical to Mr. Arheidt’s and Mr. Achache’s 18 paragraph

 4 declarations discussed above:

 5          I am employed by IPP, Limited (‘IPP’), a company incorporated in Hamburg,
            Germany under the company number 115546. IPP is a provider of online anti-piracy
 6          services for proprietary digital content. I have studies software development and
            have approximately five (5) years of experience related to the protocols, technical
 7          architecture and operation of the Internet.

 8 (ECF No. 5-2 at ¶ 1, a modified “ten-years experience paragraph.”)

 9          At IPP, I am the head of the department that carries out evidence collection and
            provides litigation support services. I work closely with our development team to
10          create credible techniques to scan for, detect, and download copies of copyrighted
            material on multiple network protocols for use by copyright owners.
11
     (ECF No. 5-2, ¶ 3, the “credible techniques paragraph.”)
12
           32.      The remaining paragraphs of Mr. Feiser’s declaration are identical to the declarations
13
     of Mr. Arheidt and Mr. Achache cited above, other than substitutions of “IPP” for “Guardaley.”
14
           33.      Mr. Feiser has submitted numerous declarations for other pornography cases,
15
     including the Malibu Media cases, e.g. Malibu Media v. Does 1-21, D. CO, case no. 1:12-cv-835,
16
     ECF No. 6-2 (claiming employment with IPP.)
17
           34.      Mr. Lowe’s response, Dkt. #33 at ¶ 6, seems to speak of Malibu Media similarly to
18
     Prenda as a “bad actor.” He also claims:
19
            Malibu Media apparently uses similar forensic technology to identify Bit Torrent
20          infringers, albeit obtained from different data providers and licensees than Plaintiff
            uses in these cases.
21
     (Dkt. #33 at ¶ 6.)
22
           35.      But Tobias Fieser is a direct connection, claiming to work for IPP, with Mr. Perino
23
     claiming he also works for Guardaley. Note also the “metadata” in Mr. Lowe’s response. Almost
24
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         Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 11 of 34




 1 all of Mr. Lowe’s Bit Torrent pleadings on PACER using Chrome show (i) in the tab at the top and

 2 (ii) in the header of the document, what appears to be his firm’s document code. For example, the

 3 Response, Dkt. #33, shows “INIP-6-0088P18-RESPSC.” Presumably this is a code for “InteralIP

 4 LLP,” an undisclosed entity connected to Guardaley, and codes for the plaintiff, the matter number,

 5 the pleading, and document title. But, note the metadata for the exhibit to Mr. Lowe’s declaration,

 6 Dkt. #38-1 where the “INIP” code is not used, a code including “Malibu” is used: “042016-Malibu.”

 7 Despite the Response argument at Dkt. #33 at ¶ 6, there is a direct connection between the non-

 8 pornography plaintiffs and the pornography plaintiffs – it is in the metadata. Here are screen

 9 captured graphics showing the “INIP” metadata from Dkt. #33, and the “Malibu” metadata from

10 Dkt. #38-1:

11

12

13

14

15

16

17          1.     Guardaley’s non-pornography cases after spring 2012.

18         36.     As to the non-pornography cases, after the Shirokov personal jurisdiction ruling

19 dismissing Guardaley, Guardaley no longer filed declarations directly for new plaintiffs.

20 Declarations using copied paragraphs from Mr. Perino’s and Mr. Achache’s declarations were then

21 seen from (i) Excubitor USA, Inc.; (ii) Copyright Defenders, Inc.; (iii) IP Squared Technologies,

22 Inc.; and (iv) Crystal Bay Corporation, although there could be others. Crystal Bay Corporation was

23 the most prolific.

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 12 of 34




 1                  a.      Mesut Tarhan at Excubitor USA, Inc.

 2         37.      For example, in Liberty Media Holdings v. Does 1-38, M.D. FL, case no. 1:11-cv-

 3 21567, ECF No. 19-1, Mesut Tarhan’s declaration amalgamates copied paragraphs from the Perino

 4 and Achache declarations quoted above, with the company name changed from Guardaley:

 5          I am the Vice President of Excubitor USA, Inc. a company incorporated in Nevada
            with its principal address at 4550 West Oakey [SIC] Blvd, #111H Las Vegas, Nevada
 6          89102. Excubitor is a provider of online anti-piracy services for the motion picture
            industry. Before my employment with Excubitor, I held various positions at
 7          companies that developed software technologies. I have approximately ten years of
            experience related to digital media and computer technology.”
 8
     (Id. at ¶ 1, the “ten years experience paragraph.”)
 9
            At Excubitor, I am the head of the department that carries out evidence collection
10          and provides litigation support services. I work closely with our research team to
            create credible processes to scan for, detect, and document copyright infringement
11          over the Internet.

12 (Id. at ¶ 3, the “credible processes paragraph.”)

13          The Internet is a vast collection of interconnected computers and computer networks
            that communicate with each other.
14
     (Id. at ¶ 4, the “vast collection paragraph.”)
15
                    b.      Matthias Schroeder Padewet at Copyright Defenders, Inc.
16
           38.      Declarations in 2011-2012 also came from Matthias Schroeder Padewet. Matthias
17
     Schroeder Padewet claimed association with Copyright Defenders, Inc. (using the same Las Vegas
18
     address as Excubitor USA, Inc.), and copied Mesut Tarhan’s amalgamated copied paragraphs from
19
     Mr. Perino and Mr. Achache. For example, Matthias Schroeder Padewet claimed in 4 Twenty Media
20
     v. Swarm, W.D. LA, case no. 6:12-cv-31, ECF No. 2-3:
21
            I am the vice president of Copyright Defenders, Inc. (‘Copyright Defenders’) a
22          company incorporated in Nevada with its principal place of business at 4550 West
            Oakey [SIC] Blvd. #111H Las Vegas NV 89102. Copyright Defenders is a provider
23          of online anti-piracy services for the motion picture industry. Before my employment
            with Copyright Defenders, I held various positions at companies that developed
24
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           Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 13 of 34




 1           software technologies. I have approximately ten years of experience related to digital
             media and computer technology.
 2
     (Id. at ¶ 1, the “ten years experience paragraph.”)
 3
             At Copyright Defenders, I am the head of the department that carries out evidence
 4           collection and provides litigation support services. I work closely with our research
             team to create credible processes to scan for, detect, and document copyright
 5           infringement over the Internet.

 6 (Id. at ¶ 3, the “credible processes paragraph.”)

 7           The Internet is a vast collection of interconnected computers and computer networks
             that communicate with each other.
 8
     (Id. at ¶ 4; the “vast collection paragraph.”)
 9
                     c.     William Gorfein, “Darren M. Griffin,” and Daniel Macek at Crystal
10
                            Bay Corporation
11
            39.      By summer 2012, Crystal Bay Corporation became the entity most cited by
12
     declarants in non-pornography Bit Torrent cases using amalgamated copies of the Perino and
13
     Achache declaration language. Crystal Bay Corporation is discussed in Point E, infra.
14
     E.      Mr. Lowe’s filing history does not align with his declaration about Crystal Bay
15
             Corporation.
16
            40.      Mr. Lowe makes representations about Crystal Bay Corporation that are objectively
17
     false, as the ECF record proves.
18
             1.      Current representations by Mr. Lowe about Crystal Bay Corporation.
19
            41.      Mr. Lowe’s declaration includes two paragraphs about Crystal Bay Corporation and
20
     “Darren M. Griffin”:
21
             I understand that Mr. Griffin is an individual who worked briefly for Crystal Bay
22           Corporation in the 2012-2013 to verify infringement detection data licensed from
             Excipio. As explained in the Supplemental Declaration of Ben Perino, Excipio is a
23           company to which parts of the GuardaLey infringement detection system were
             outsourced in the 2012-2015 time period (see ¶ 16), and which in turn licensed the
24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 14 of 34




 1          technology to others, believed to have included Crystal Bay. I have no personal
            knowledge about Crystal Bay, and never worked with that entity. The only
 2          information I can glean from that entity is obtained from the South Dakota
            Secretary of State website, attached as Exhibit A, which indicates that the entity
 3          was formed in March 2012 and ceased existence in or around March 2015.

 4 (Dkt. #38 at ¶ 7.)

 5          Mr. Griffin apparently verified infringement detection data and submitted a number
            of declarations in various jurisdictions confirming the data, similar to what has been
 6          done in these cases by Mr. Arheidt. But I have never met or worked with Mr.
            Griffin and, to the best of my knowledge and investigation, have never submitted
 7          a declaration from him in any case in this jurisdiction.

 8 (Id. at ¶ 8.)

 9         42.      But there must be personal knowledge of Crystal Bay Corporation because Mr.

10 Lowe’s law firm filed declarations of declarants claiming a connection to Crystal Bay Corporation

11 in at least three sets of cases: (i) Dallas Buyers Club; (ii) Elf-Man; and (iii) Canal Street Films.

12          2.      Dallas Buyers Club: Daniel Macek at Crystal Bay Corporation

13         43.      Lowe Graham & Jones PLLC filed thirteen cases for Dallas Buyers Club LLC in this

14 District between July 30, 2014 and April 3, 2015. Each Dallas Buyers Club case commences with

15 a Motion to allow Subpoenas supported by a Declaration of Daniel Macek claiming:

16          I have been retained as a software consultant by Crystal Bay Corporation (‘Crystal
            Bay’), a company incorporated in South Dakota and organized and existing under the
17          laws of the United States, in its technical department.

18 (Case nos. (1) 14-cv-1153, Dkt. #5; (2) 14-cv-1336, Dkt. #7; (3) 14-cv-1402, Dkt. #7; (4)
   14-cv-1684, Dkt. #6; (5) 15-cv-1819, Dkt. #5; (6) 14-cv-1926, Dkt. #6; (7) 15-cv-133, Dkt.
19 #6; (8) 15-cv-134, Dkt. #6; (9) 15-cv-576, Dkt. #6; (10) 15-cv-579, Dkt. #6; (11) 15-cv-580,
   Dkt. #6; (12) 15-cv-581, Dkt. #6; (13) 15-cv-582, Dkt. #6. (¶ 2.))
20
          44.     Each declaration of Daniel Macek is identical, at 21 paragraphs. Each uses a copy of
21
   Mr. Perino’s “vast collection paragraph” (at paragraph 3). Each is identical to the currently-used
22
   declarations of Mr. Arheidt in this District, other than substitution of “MaverickEye” for “Crystal
23
   Bay Corporation” (including the typographical error “propriety”).
24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 15 of 34




 1         45.     Each declaration claims (i) that the witness used Crystal Bay Corporation software

 2 (“The forensic technology used by Crystal Bay is propriety [SIC] software that collects, identifies,

 3 and records the IP addresses in use by those people” (paragraph 10)); and (ii) that Crystal Bay

 4 Corporation made determinations (“Crystal Bay determined that the Doe Defendants identified in

 5 Exhibit C to the Complaint were using the ISPs listed in the exhibit to gain access to the Internet

 6 and distribute and make available for distribution and copying Plaintiff’s copyrighted motion

 7 picture” (paragraph 14)); among (iii) other recitations about Crystal Bay Corporation relied upon

 8 by the Plaintiff in the Motions for Expedited Discovery, e.g. case no. 2:14-cv-1153, Dkt. #4.

 9         46.     Mr. Macek does not state that he is a German national or that the investigation he

10 allegedly undertook apparently was undertaken from Germany. The only geographic reference is to

11 South Dakota. There is no explanation how a South Dakota corporation could lawfully employ a

12 German national in “its technical department.”

13         47.     Each Dallas Buyers Club case includes a Motion invoking work purportedly

14 undertaken at Crystal Bay Corporation:

15                 Plaintiff has engaged Crystal Bay Corporation (‘Crystal Bay’), a provider of
                   online antipiracy services for the motion picture industry, to monitor this
16                 infringing activity.

17 (e.g. case no. 14-cv-1153, Dkt. #4 at ¶ 2.)

18         48.     Dallas Buyers Club also moved for default judgment on the basis of work

19 purportedly undertaken at Crystal Bay Corporation. E.g. case no. 14-cv-1153, Dkt. #46, at ¶ 7. This

20 Motion for default judgment used declarations of Michael Patzer, Dkt. #49 and Daniel Macek, Dkt.

21 #50.

22         49.     Mr. Patzer claims to be an independent contractor to Excipio of Germany with

23 knowledge of Excipio’s business. Mr. Patzer claims:

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 16 of 34




 1          Excipio contracts with Crystal Bay Corporation (‘Crystal Bay’) to provide Crystal
            Bay with this data collection system, which is the system that Crystal Bay uses to
 2          detect infringement of plaintiff’s works.

 3 (Id. at Dkt. #49.)

 4         50.      Mr. Macek’s “second declaration” is identical to the 21 paragraph declaration

 5 initially filed with each case. This second declaration adds paragraph 22 claiming evidence of other

 6 infringements, and adds paragraph 23, an (oddly worded) disclaimer: “No one including myself,

 7 has an ownership in Crystal Bay, or vice versa.” Dkt. #50 at ¶ 23.

 8         51.      Mr. Lowe filed “Macek at Crystal Bay Corporation” declarations in Dallas Buyers

 9 Club cases in this District between July 30, 2014 and April 3, 2015. According to the links provided

10 in Mr. Lowe’s declaration, Dkt. #38 at pp. 5-6, the Australian Dallas Buyers Club hearing was in

11 February 2015. Mr. Macek claimed to work for “Maverick” (Reasons for Judgment, ¶ 10 from the

12 link provided), during the same timeframe where he was telling United States District Courts that

13 his Dallas Buyer Club investigations were for “Crystal Bay Corporation . . . of South Dakota . . . in

14 its technical department,” e.g. in this District, case no. 15-cv-582, Dkt. #6. From my observation of

15 Bit Torrent, it is international by nature, and the investigations could not be anything but

16 international at the stage of harvesting the data.

17          3.      Elf-Man: Daniel Macek at Crystal Bay Corporation

18         52.      Lowe, Graham & Jones represented Elf-Man LLC in E.D. WA, case nos. 13-cv-115

19 and 13-cv-395. Mr. Lowe’s appearance, ECF No. 110, followed the withdrawal of Elf-Man LLC’s

20 attorney Maureen VanderMay for ethical reasons. Ms. VanderMay’s Motion explained:

21          Issues have arisen between Plaintiff’s representatives and counsel the nature of
            which make it impossible for counsel to both continue with representation and
22          comply with the governing rules of professional conduct.

23 (Elf-Man, case no. 13-cv-115, ECF No. 109, June 3, 2014.)

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 17 of 34




 1         53.     In case no. 13-cv-115, Mr. Lowe moved for default judgments. These Motions used

 2 declarations of Michael Patzer, ECF No. 126, and Daniel Macek, ECF No. 128, both claiming a

 3 relationship to Crystal Bay Corporation of South Dakota in its technical department. Judge Thomas

 4 O. Rice granted the Motions. Id. at ECF No. 134.

 5         54.     In case no. 13-cv-395, Mr. Lowe moved to dismiss Elf-Man’s Amended Complaint

 6 against my client, Mr. Lamberson, with prejudice. In opposition to a defense motion for attorneys’

 7 fees, Mr. Lowe used Declarations of Mr. Macek, ECF No. 88 and Mr. Patzer, ECF No. 89, both

 8 claiming a relationship to Crystal Bay Corporation of South Dakota in its technical department.

 9          4.     Crystal Bay Corporation: Explanation provided under Court Order.

10         55.     Judge Rice Ordered Ms. VanderMay to provide a narrative of the relationship of Mr.

11 Macek and Crystal Bay Corporation to Elf-Man LLC. Case No. 13-cv-395, ECF No. 31. Ms.

12 VanderMay’s explanation is ECF No. 44 and was filed under seal. Judge Rice unsealed the

13 document in 2018.

14         56.     The narrative includes “APMC, Inc.” in the role previously claimed by Guardaley

15 (or U.S. Copyright Group) in the Perino and Achache declarations: the company hired by the rights

16 holder, or the right holder’s sales agent, who in turn hired the investigator company, who in turn

17 hired the declarant, who used software of a third party, to conduct an investigation.

18         57.     Ms. VanderMay’s explanation in response to Judge Rice’s Order is ECF No. 44:

19          Pursuant to this arrangement, Vision Films, Inc. retained APMC, Inc. to arrange for
            anti-internet piracy services for various rights holders, including Elf-Man LLC.
20          Transmitted herewith is a copy of an agreement between Vision Films, Inc. and
            AMPC, Inc. which was executed in April, 2012. As you will see, Schedule A to this
21          Agreement lists titles other than Elf-Man. I am awaiting further confirmation on this
            point, but it is my understanding that the September, 2012 Schedule A was intended
22          as a substitute for the Schedule A to the April 2012 Agreement and that no new
            agreement was executed in conjunction with the revised Schedule A.
23

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 18 of 34




 1          As I understand it, the parties to the April 2012 agreement have abandoned the
            financial terms of their arrangement with respect to Elf-Man in various jurisdictions,
 2          including but not limited to the state of Washington. The April 2012 agreement was
            provided to me with certain terms redacted from Schedule B. In light of the parties’
 3          agreement to abandon this arrangement with respect to anti-piracy in this
            jurisdiction, I do not believe that this is an issue of consequence.
 4
            APMC, Inc. acting on behalf of Vision Films, Inc. and Elf-Man LLC, retained
 5          Crystal Bay, Inc. [SIC] to conduct the subject investigation. As I have previously
            explained, there is no agreement which memorializes this arrangement with Crystal
 6          Bay, Inc. [SIC] No financial terms were agreed to in connection with this
            investigation because this was considered to be a test case. The investigators were
 7          directed to capture IP addresses and record network traffic between the infringers
            computer and the source computer.
 8
            With respect to Messrs Patzer and Macek, Mr. Patzer is an outside consultant who
 9          acted as the network architect and who designed the system employed by Crystal
            Bay, Inc. [SIC] to conduct the subject investigation. Mr. Patzer is responsible for
10          ongoing maintenance of the network infrastructure.

11          Mr. Macek was working for Crystal Bay Inc. [SIC] in conducting the subject
            investigation.
12
            58.    Mr. Lowe was aware of this explanation as counsel to Elf-Man and because I raised
13
     it with him during case no. 13-cv-395.
14
            5.     Canal Street Films, LLC: William Gorfein at IP Squared
15
            59.    Mr. Lowe’s law firm filed two cases for Canal Street Films, W.D. WA case no. 13-
16
     cv-7, and E.D. WA case no. 13-cv-3001. The E.D. WA case was assigned to Judge Edward Shea.
17
     The W.D. WA case was assigned to Judge Robert S. Lasnik, along with the 48 other BitTorrent
18
     cases filed in W.D. WA from December 12, 2012 to March 28, 2013 by attorneys Richard Symmes
19
     and Maureen VanderMay.
20
           60.     Mr. Lowe used declarations of William Gorfein in these Canal Street Films cases.
21
     Mr. Gorfein’s declarations use copied paragraphs from Mr. Perino and Mr. Achache, but Mr.
22
     Gorfein claims to work for “IP Squared” “in its technical department”:
23

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 19 of 34




 1           I have been retained as a software consultant by IP Squared Technologies (‘IP
             Squared’), a company incorporated in Delaware and organized and existing under
 2           the laws of the United States, in its technical department. IP Squared is in the
             business of providing forensic investigative services to copyright owners.
 3
     (W.D. WA, case no. 13-cv-7, Dkt. #5-1 at ¶ 2.)
 4
             The Internet is a vast collection of interconnected computers and computer networks
 5           that communicate with each other.

 6 (Id. at ¶ 3, the “vast collection paragraph.”)

 7          61.     But during this same time frame, William Gorfein was filing declarations claiming

 8 a relationship with Crystal Bay Corporation. For example, R&D Film 1, LLC v Does 1-33, ED MO,

 9 case no. 4:12-cv-1741, ECF No. 4:

10           I have been retained as a software consultant by Crystal Bay Corporation (‘CBS’)
             [SIC], a company incorporated in South Dakota and organized and existing under
11           the laws of the United States, in its technical department. CBS is in the business of
             providing forensic investigation services to copyright owners.
12
   (Id. at ¶ 2)
13           The Internet is a cast collection of interconnected computers and computer networks
             that communicate with each other.
14
   (Id. at ¶ 3, the “vast collection paragraph”)
15
            62.     The typed charts of alleged infringement of the W.D. WA William Gorfein
16
   declaration claims observations from September 15, 2012 to December 26, 2012 while purportedly
17
   working for “IP Squared.” Dkt. # 1-1. This time period overlaps with the time period of July 17, 2012
18
   to September 18, 2012 which is the time frame of observations allegedly made by William Gorfein
19
   while purportedly working for “Crystal Bay Corporation” as stated in the Declaration of William
20
   Gorfein filed in Battle Force in ND IL, case no. 12-cv-7818, ECF Nos. 1-1, 8-1.
21
            63.     There is also a direct connection between Mr. Gorfein and “Darren M. Griffin” in this
22
   district. R&D Film filed declarations of both William Gorfein and “Darren M. Griffin” in N.D. IL.
23
   For example, N.D. IL, case no. 12-cv-5610, ECF No. 9-1 is William Gorfein claiming to work for
24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 20 of 34




 1 Crystal Bay Corporation. N.D. IL, case no. 12-9036, ECF No. 7-1 is “Darren M. Griffin” claiming

 2 to work for Crystal Bay Corporation. That same R&D Film filed eight cases in W.D. WA (cited,

 3 infra, e.g. W.D. WA, case no. 13-cv-50, Dkt. #4) including declarations of “Darren M. Griffin”

 4 claiming to work for Crystal Bay Corporation.

 5           64.   In Canal Street Films, both Judge Shea and Judge Lasnik asked for supplemental

 6 declarations. In both cases, Mr. Lowe filed second declarations of “William Gorfein” in May 2013.

 7 The signature of William Gorfein in each second declaration (E.D. WA case no. 13-cv-3001, ECF

 8 No. 16-2 at 8; W.D. WA case no. 13-cv-007, Dkt. #19-2) is obviously different than the original

 9 signatures used to start those cases (E.D. WA case no. 13-cv-3001, ECF No. 6-1; W.D. WA, case

10 no. 13-cv-007, Dkt. #5-1). Plus, each “new” William Gorfein signature also appears to be a

11 photocopy of the other, as does each “old” William Gorfein signature.

12    E.D. WA 13-cv-3001 (ECF No. 6-1):        E.D. WA 13-cv-3001 (ECF No. 16-2 at 8):

13

14
      W.D. WA 13-cv-007 (Dkt. # 5-1):          W.D. WA 13-cv-007 (Dkt. #19-2):
15

16

17
             65.   It appears that many of the Declarations of William Gorfein, whether working for IP
18
     Squared or Crystal Bay Corporation includes photocopied signatures, including those filed in this
19
     District.
20
      Battle Force, N.D. IL 1:12-cv-7818 (ECF No. 8-1):
21

22

23

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 21 of 34




 1    Dragon Quest, N.D. IL 1:12-cv-7812 (ECF No. 8-1):

 2

 3
      TriCoast Smitty, N.D. IL 1:12-cv-6386 (ECF No. 9-1):
 4

 5

 6
      R&D Film No. 1, E.D. IL 1:12-cv-5810 (ECF No. 9-1):
 7

 8

 9
     F.     Mr. Lowe’s representations about “Darren M. Griffin” do not align with the
10
            apparent facts.
11
            66.    Mr. Lowe makes representations about “Darren M. Griffin” that are almost certainly
12
     untrue, as the ECF record shows.
13
            1.     Mr. Lowe tells this District that “Darren M. Griffin” exists.
14
            67.    Mr. Lowe’s declaration includes two paragraphs about Crystal Bay Corporation and
15
     “Darren M. Griffin”:
16
             I understand that Mr. Griffin is an individual who worked briefly for Crystal Bay
17           Corporation in the 2012-2013 to verify infringement detection data licensed from
             Excipio. As explained in the Supplemental Declaration of Ben Perino, Excipio is a
18           company to which parts of the GuardaLey infringement detection system were
             outsourced in the 2012-2015 time period (see ¶ 16), and which in turn licensed the
19           technology to others, believed to have included Crystal Bay. I have no personal
             knowledge about Crystal Bay, and never worked with that entity. The only
20           information I can glean from that entity is obtained from the South Dakota
             Secretary of State website, attached as Exhibit A, which indicates that the entity
21           was formed in March 2012 and ceased existence in or around March 2015.
     (Dkt. # 38 at ¶ 7.)
22
            Mr. Griffin apparently verified infringement detection data and submitted a number
23          of declarations in various jurisdictions confirming the data, similar to what has been
            done in these cases by Mr. Arheidt. But I have never met or worked with Mr.
24
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           Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 22 of 34




 1           Griffin and, to the best of my knowledge and investigation, have never submitted
             a declaration from him in any case in this jurisdiction.
 2
     (Dkt. #38 at ¶ 8.)
 3
             2.     Mr. Lowe told E.D. WA that “Darren M. Griffin” exists.
 4
             68.    In Elf-Man v. Lamberson, E.D. WA case no. 13-395, Mr. Lowe also addressed the
 5
     purported existence of “Darren M. Griffin”:
 6
             Though much is made of Darrin [SIC] Griffin, a former investigator for Crystal Bay
 7           Corporation, there is no Darrin [SIC] Griffin in this case. To the best of Plaintiff’s
             knowledge this former investigator has never been before this Court or relied on my
 8           any Party in this District.

 9 (Id. at ECF No. 105 at 3.)

10                  Mr. Lowe also claimed:

11           There is no evidence that Griffin is a ‘fake person,’ or that Crystal Bay Corporation
             is a ‘fake company.’ There is only Lynch’s wild speculation and Plaintiff has no
12           obligation to respond to such wild and purely inflammatory allegations, let alone
             prove a negative.
13
     (Id. at 4.)
14
                    Mr. Lowe also claimed:
15
             Lynch has no evidence that Griffin is not a real person that worked for duly
16           incorporated Crystal Bay Corporation, or that he then ceased his work for that
             company. Lynch has no basis for any testimony regarding Crystal Bay Corporation,
17           or that Mr. Macek, who did testify in this case as a consultant for Crystal Bay
             Corporation, does not also provide consulting for other entities such a MaverickEye
18           UG.

19 (Id.)
                    Mr. Lowe also claimed:
20
             Exhibit A to the Lynch Declarations consists entirely of declarations of Darren M.
21           Griffin, a former investigator for Bit Torrent plaintiffs in other cases from other
             jurisdictions. There is nothing to tie these declarations to this case. Though much
22           is made of Darrin [SIC] Griffin, a former investigator for Crystal Bay Corporation,
             there is no Darrin [SIC] Griffin in this case. To the best of plaintiff’s knowledge,
23           this former investigator has never been before this court, or been relied on by any
             party to this or related cases in this District. Nothing related to Darrin [SIC] Griffin
24
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           Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 23 of 34




 1           can be said to be relevant to this matter, and the exhibit should be stricken in its
             entirety.
 2
     (Id. at 8.)
 3
             3.      Mr. Lowe incorrectly claims that no declarations of “Darren M. Griffin” have
 4                   been filed in this District. Scores of them have been filed in W.D. WA.

 5           69.     Mr. Lowe made similar representations intimating the existence of “Darren M.

 6 Griffin” in this District in Criminal Production v. Does, case no. 2:16-cv-1351. A pro se defendant

 7 brought a Motion to dismiss citing “Darren M. Griffin” and “his” direct connection to Mr. Arheidt.

 8 In opposition, Mr. Lowe represented:

 9           Likewise, references to a ‘Darrin [SIC] Griffin’ or a ‘Crystal Bay Corporation’ are
             irrelevant to this case. To the best of Plaintiff’s knowledge, the former is a former
10           investigator for the latter, but which has never been before this Court or been relied
             on by any party in this District.
11
     (Dkt. #53 at ¶ 4, n.2.)
12
             70.     But, declarations of “Darren M. Griffin” claiming to “have a degree in computer
13
     science” “retained as a software consultant” “by Crystal Bay Corporation” “in its technical
14
     department” have been filed in 41 different cases in this District.
15
             71.     Declarations of “Darren M. Griffin” were filed in W.D. WA by R&D Film (8 cases:
16
     13-cv-50, 13-cv-51, 13-cv-52, 13-cv-53, 13-cv-54, 13-cv-55, 13-cv-56, 13-cv-57); Flypaper
17
     Distribution (1 case: 13-cv-63); Private Lenders Group (1 case: 13-cv-194); D3 Productions (1
18
     case: 13-cv-228); Riding Films (7 cases: 13-cv-255, 13-cv-256, 13-cv-277, 13-cv-278, 13-cv-287,
19
     13-cv-288, 13-cv-289); Zembezia Film (12 cases: 13-cv-307, 13-cv-308, 13-cv-310, 13-cv-311, 13-
20
     cv-312, 13-cv-313, 13-cv-314, 13-cv-315, 13-cv-316, 13-cv-317, 31-cv-318, 13-cv-319); Ledge
21
     Distribution (3 cases: 13-cv-328, 13-cv-329, 13-cv-330); Voltage Pictures (8 cases: 13-cv-455, 13-
22
     cv-456, 13-cv-457, 13-cv-458, 13-cv-459, 13-cv-460, 13-cv-461, 13-cv-462).
23

24
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 24 of 34




 1          72.     Each declaration of “Darren M. Griffin” filed in W.D. WA is executed with only the

 2 initials “DG”. Each declaration cited here by me of “Darren M. Griffin” from other Districts is also

 3 executed only with the initials “DG”. Each declaration of “Darren M. Griffin” that I have seen, but

 4 which are not cited here, are also executed only with the initials “DG”.

 5          4.      “Darren M. Griffin” is likely fictitious.

 6          73.     As I have explained in Elf-Man v. Lamberson, E.D. WA case no. 13-395, ECF No.

 7 120 at 5-7, after thorough investigation, I have concluded that “Darren M. Griffin” is fictitious. There

 8 is no such person. There is no technical department at Crystal Bay Corporation. 110 E. Center St.

 9 Suite 2053 in Madison, South Dakota is a mailbox center. Mr. Gorfein did not work there or for it.

10 Mr. Macek did not work there or for it. “Darren M. Griffin” certainly did not work there or for it.

11          74.     Venice PI’s submission in response to the present Order to Show Cause confirms my

12 certitude that “Darren M. Griffin” is fictitious. Declarants Benjamin Perino and Daniel Arheidt claim

13 to have met Tobias Fiser, Michael Patzer, and Daniel Macek. No one claims to have met or spoken

14 with Daniel Susac, yet his identification was produced for counsel. No one claims to have met or

15 spoken with “Darren M. Griffin,” and his identification has not been seen. No employment records,

16 no tax records, no payment records, no immigration records, no address, no family members, no

17 computer science classmates, no photographs, no correspondence, no voice mails, no emails.

18          75.     “Crystal Bay Corporation” is not explained other than Dkt. #38-1, a printout from the

19 South Dakota Secretary of State showing its incorporation in 2012. (Note that page 7 shows the

20 “President” as “Peter Kurtz” with an address of 110 E. Center Street, Suite 2053, Madison, South

21 Dakota 57042. I am suspicious that “Peter Kurtz” is likewise fictitious, and in any event not the

22 President of Crystal Bay Corporation, but that is not the subject of this declaration. There was an

23 attorney Nicholas Kurtz who was a defendant along with Guardaley in the Shikorov case.)

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 25 of 34




 1          76.     If there ever were a time for presentation of identification and a declaration of “Darren

 2 M. Griffin,” it would have been in response to the Order to Show Cause in this case, but that did not

 3 happen. An explanation was provided, but the explanation cannot be true. “Darren M. Griffin” with

 4 a “degree in computer science” who was “retained as a software consultant by Crystal Bay

 5 Corporation” “of South Dakota” “in its technical department” does not exist.

 6          77.     “Darren M. Griffin” filed over 500 declarations in United States District Courts,

 7 including over 50 declarations filed in this District, all claiming to be employed by or a consultant to

 8 Crystal Bay Corporation.

 9          78.     I have logged the plaintiffs, districts, case numbers, and filing of as many “Darren M.

10 Griffin” declarations as I could locate using my PACER search techniques (which do not allow

11 searches by named declarant). I can provide this data to the Court if requested.

12          5.      Use of “Darren M. Griffin” declarations with Judge Lasnik

13          79.     Forty-nine Bit Torrent lawsuits were filed in this District between December 12, 2012

14 and March 28, 2013. All were assigned to Judge Lasnik. Mr. Lowe filed one of the cases, Canal

15 Street Films v. Does, case no. 13-cv-007, discussed above. Seattle attorney Richard J. Symmes filed

16 forty-six cases, identified above. Salem, Oregon attorney Maureen C. VanderMay filed two cases,

17 Elf-Man LLC, case no. 13-cv-507, and Thompson Film LLC, case no. 13-cv-560.

18          80.     All three counsel moved for Orders allowing subpoenas. Ms. VanderMay used no

19 declarations with her requests. Mr. Lowe used the declaration of William Gorfein. Mr. Symmes did

20 not submit a declaration in a few of his forty-six cases, but the majority of them include a filed

21 declaration of “Darren M. Griffin.”

22          81.     For example, R & D Film 1, LLC v. Does 1-46, W.D. WA case no. 13-50, Dkt. #4-1:

23          My name is Darren M. Griffin. I am over the age of 18 and otherwise competent to
            make this declaration. This declaration is based on my personal knowledge and if
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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 26 of 34




 1          called upon do to so, I will testify that the facts stated herein are true and accurate. I
            am I am [SIC] a software consultant with nine years experience working in the field.
 2          I have a degree in computer science. (paragraph 1.)

 3          82.     This is a variation on Mr. Achache’s “ten years experience paragraph” (although Mr.

 4 Achache did not claim a “degree in computer science”). These W.D. WA declarations of “Darren M.

 5 Griffin” also use Mr. Perino’s “vast connection paragraph” (paragraph 3).

 6          83.     After granting Subpoenas in each case, Judge Lasnik sua sponte issued an Order in

 7 May 2013, terminating the Subpoenas in all cases. Each of the three counsel were required to respond

 8 to an Order to Show Cause regarding Judge Lasnik’s concerns about litigation abuse. See, case no.

 9 13-cv-50, Dkt. #9.

10          84.     Ms. VanderMay submitted a response that is under seal. case no. 13-507, Dkt. #25.

11          85.     Mr. Lowe submitted a second declaration of “William Gorfein.” Dkt. #19-2, as

12 described above with the “new” signature.

13          86.     Mr. Symmes filed a second declaration of “Darren M. Griffin” in all of his cases:

14 R&D Film Company (e.g. case no. 13-cv-50 first “Griffin” is Dkt. #4-1, second “Griffin” is Dkt.

15 #12-8); Flypaper Distribution (case no. 13-cv-63 first “Griffin” is Dkt. #4-2 (unsigned), second

16 “Griffin” is Dkt. #11-26); Private Lenders Group (case no. 13-cv-194 first “Griffin” is Dkt. #4-1,

17 second “Griffin” is Dkt. #13-2); D3 Productions (case no. 13-cv-228 first “Griffin” is Dkt. #3-1,

18 second “Griffin” is Dkt. #-3); Riding Films (e.g. case no. 13-cv-277 first “Griffin” is Dkt. #4-1,

19 second “Griffin” is Dkt. #13-6); Zembezia Film (e.g. case no. 13-cv-308 first “Griffin” is Dkt. #4-

20 1, second “Griffin” is Dkt. #35-6; Ledge Distribution (e.g. case no. 13-cv-328 first “Griffin” is Dkt.

21 #4-1, second “Griffin” is Dkt. #12-6); Voltage Pictures (e.g. case no. 13-cv-457 first “Griffin” is

22 Dkt. #4-1, second “Griffin” is Dkt. #13-4).

23

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 27 of 34




 1          6.      “Darren M. Griffin” declarations in other Districts.

 2          87.     “Darren M. Griffin” signed declarations by initials “DG” in every District. In most

 3 Districts, “Darren M. Griffin” claimed to be “retained as a software consultant to Crystal Bay

 4 Corporation,” but that differs in some Districts. For example:

 5          88.     In Bait Productions v. Doe, M.D. FL, case no. 8:13-171, ECF No. 13-2, “Darren M.

 6 Griffin” uses the “credible processes paragraph,” the “ten years experience paragraph” and adds

 7 “I work for Crystal Bay Corporation . . .”

 8          89.     In Killer Joe Nevada v. Does 1-18, D. DE, case no. 1:13-677, ECF No. 6-1, “Darren

 9 M. Griffin” uses the “vast collection paragraph,” and claims:

10          I am a data supply expert with the firm Crystal Bay Corporation CBC, located at 110
            E. Center Sr, STE 2053, Madison 57042 [SIC] South Dakota.” (paragraph 1.)
11
            90.     Also, there are other Districts in addition to W.D. WA where a second declaration of
12
     “Darren M. Griffin” was used in response to a judicial order for more information. e.g. R & D Film
13
     1, LLC, N.D. IL, case no. 1:12-cv-9043, ECF No. 11 is a “Supplemental Declaration of Darren M.
14
     Griffin.”
15
            91.     The use of fictitious declarant “Darren M. Griffin” is directly connected and related
16
     to the other declarants used in the non-pornography cases: Mr. Perino, Mr. Achache, Mr. Gorfein,
17
     Mr. Macek, Mr. Arheidt.
18
            7.      “Darren M. Griffin” is connected to each of the non-pornography declarants.
19
            92.     Fictitious declarant “Darren M. Griffin” is literally connected to the other declarants
20
     in Mr. Lowe’s cases. It can be shown (i) that the times of alleged observations by those declarants
21
     literally overlap among declarants and their purported employers, and (ii) that the declaration
22
     language of “Darren M. Griffin” overlaps among declarants and their purported employers.
23

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 1                 a.      Observation overlap among declarants and companies.

 2          93.    The claimed “observations” overlap for each witness and company in this

 3 progression: (i) Arheidt at MaverickEye observations overlap with observations claimed to have

 4 been made by Macek at MaverickEye, which (ii) overlap with observations claimed to have been

 5 made by Macek at Crystal Bay Corporation, which (iii) overlap with observations claimed to have

 6 been made by “Darren M. Griffin” at Crystal Bay Corporation, which (iv) overlap with observations

 7 made by William Gorfein at Crystal Bay Corporation. All of this can be seen from the PACER

 8 records.

 9          94.    Here are the “observation” overlaps:

10          95.    “Arheidt at MaverickEye”: Mr. Arheidt submitted a declaration in this District for

11 London Has Fallen, case no. 16-cv-1015, Dkt. #6, claiming observations for MaverickEye from

12 June 4, 2015 through June 25, 2015, Dkt. #1-1.

13          96.    “Macek at MaverickEye” overlaps with “Arheidt at MaverieckEye”: Mr. Macek had

14 submitted a declaration in this District for London Has Fallen, case no. 16-cv-865, Dkt. #6, claiming

15 observations for MaverickEye from May 14, 2015 through June 6, 2015, Dkt. #1-1, overlapping

16 with Mr. Arheidt’s observations.

17          97.    “Macek at Crystal Bay Corporation” overlaps with “Macek at MaverickEye”: Mr.

18 Macek submitted a declaration in this District for Cobbler Nevada, case no. 15-cv-1404, Dkt. #6,

19 claiming observations for MaverickEye from March 14 through April 16, 2015. Dkt. #1-1. Mr.

20 Macek submitted a declaration in this District for Dallas Buyers Club, case no. 15-cv-582, Dkt. #6,

21 claiming observations for Crystal Bay Corporation from December 20, 2014 through April 3, 2015,

22 Dkt. #1-1, overlapping with his claimed observations for MaverickEye in the Cobbler Nevada case.

23

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 1         98.     “Macek at Crystal Bay Corporation” overlaps with “’Darren M. Griffin’ at Crystal

 2 Bay Corporation”: Mr. Macek submitted a declaration in D. CO for TCYK, Inc., case no. 1:13-cv-

 3 2950, ECF No. 7-1, claiming observations for TCYK from September 27, 2013 through October 6,

 4 2013, ECF No. 1-1. “Darren M. Griffin” submitted a declaration in D. CO for TCYK, Inc., case no.

 5 1:13-cv-3496, claiming observations from September 27, 2013 to November 20, 2013, ECF No. 1-

 6 1, overlapping with Mr. Macek’s claimed observations for Crystal Bay Corporation.

 7         99.      Aside as to timing: This D. CO declaration of “Darren M. Griffin” overlapping Mr.

 8 Macek’s was filed October 29, 2013. Mr. Macek’s was filed December 28, 2013. I previously

 9 testified in Elf-Man v. Lamberson, E.D. WA, case no. 13-cv-395 (e.g. ECF No. 120 atf 5-7) that

10 during October to December 2013, I inquired of Ms. VanderMay whether “Darren M. Griffin”

11 would be disclosed as a witness pursuant to Fed. R. Civ. P. 26, since declarations of “Darren M.

12 Griffin” had been filed for Elf-Man in other U.S. District Courts with times overlapping the time

13 alleged for my client, Mr. Lamberson. At our Rule 26(f) meeting of counsel in December, 2013,

14 Ms. VanderMay could not identify her witness. In the 26(a) initial disclosures served in January,

15 2014, “Darren M. Griffin” was not disclosed, but Daniel Macek and Michael Patzer were. “Darren

16 M. Griffin” filed over 500 declarations starting in November 2012, but they ended in December

17 2013 with the switch to Mr. Macek as declarant for Crystal Bay Corporation. (End aside.)

18         100.    “’Darren M. Griffin’ at Crystal Bay Corporation” overlaps with “William Gorfein at

19 Crystal Bay Corporation”: “Darren M. Griffin” submitted a declaration in N.D. IL for R & D Film

20 No. 1, case no. 12-9036, ECF No. 7-1 claiming observations for Crystal Bay Corporation from July

21 3, 2012 through September 17, 2012. William Gorfein submitted a declaration in N.D. IL for Battle

22 Force, case no. 12-7828, ECF No. 7-1 claiming observations for Crystal Bay Corporation from

23

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 30 of 34




 1 July 31, 2012 to August 28, 2012, ECF No. 1-1, overlapping with “Darren M. Griffin’s” alleged

 2 observations for Crystal Bay Corporation.

 3          101.    “William Gorfein at Crystal Bay Corporation” overlaps with “William Gorfein at IP

 4 Squared”: William Gorfein submitted a declaration in this District for Canal Street Films claiming

 5 observations for IP Squared from September 12, 2012 through December 11, 2012, Dkt. #1-1,

 6 overlapping with Mr. Gorfein’s alleged observations for Crystal Bay Corporation in N.D. IL for R

 7 & D Film No. 1, case no. 12-9036, ECF No. 7-1, claiming observations from July 3, 2012 through

 8 September 17, 2012, ECF No. 1-1.

 9          102.    To me, these overlaps show (i) that the declarants are not making observations, and

10 (ii) the data is not being collected by differing entities.

11          103.    Plus, there are timing anomalies in addition to timing overlaps. For example, Mr.

12 Arheidt testified in this District in Criminal Production v. Does, W.D. WA, case no. 2:16-cv-1016,

13 Dkt. #1-1 and Dkt. #6, that he made observations for MaverickEye from June 25 through June 27,

14 2016. But in Criminal Productions v. Does, D. CO, case no. 1:16-cv-1761, Mr. Macek testifies that

15 he made the observations for MaverickEye from June 25 through June 28, 2016. ECF Nos. 1-3 and

16 4-1. So those overlap, but note that Mr. Macek’s declaration was signed June 14 (maybe June 16),

17 2016 – BEFORE the alleged observations took place.

18          104.    I discovered four D. CO cases for Criminal Productions where a “Macek at

19 MaverickEye” case was filed where the declaration was signed before the claimed observations

20 were made. In those four cases, the signatures all appear to be photocopies and all four pre-date the

21 alleged observations. Here are copies of the signatures to examine:

22

23

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 1   D. CO 16-cv-01761 (ECF # 4-1) (covering dates June 25-28)
      
 2
      
 3

 4
     D. CO 16-cv-01802 (ECF # 4-1) (covering dates June 23-24)
 5
      
 6
      
 7

 8

 9   D. CO 16-cv-01813 (ECF # 4-1) (covering dates June 1-23)

      
10
      
11

12
     D. CO 16-cv-01836 (ECF # 4-1) (covering dates June 4-18)
13

14    
15

16          105.   The copied declaration language also shows overlap between “Darren M. Griffin”

17 and the other non-pornography declarants, Messrs. Perino, Achache, Arheidt, Gorfein and Macek.

18                 b.      Testimonial language overlap among declarants and companies.

19          106.   The declarants from 2012 to the present (e.g. Mr. Arheidt, Mr. Macek, “Darren M.

20 Griffin,” and Mr. Gorfein) all use copied paragraphs from Mr. Perino’s and/or Mr. Achache’s 2010-

21 2012 declarations, including (i) the “ten years experience paragraph,” (ii) the “credible techniques

22 paragraph,” and (iii) the “vast collection paragraph,” among other commonalities. These overlaps

23 occur, regardless which investigator company the declarant claims a relationship.

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          Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 32 of 34




 1          107.   For example, each of the declarant/investigator combinations used Mr. Perino’s

 2 “vast collection paragraph”: (i) William Gorfein for IP Squared, Canal Street Films, v. Does 1-

 3 104, W.D. WA, case no. 2:13-cv-7, Dkt. #5-1, ¶ 3; (ii) William Gorfein for Crystal Bay Corporation,

 4 R&D Film 1, LLC v Does 1-cv-33, E.D. MO, case no. 4:12-cv-1741, ECF No. 4, ¶ 3; (iii) “Darren

 5 M. Griffin” for Crystal Bay Corporation, R & D Film 1, LLC v. Does 1-46, W.D. WA, case no. 13-

 6 cv-50, Dkt. #4-1, ¶ 3; (iv) Daniel Macek for Crystal Bay Corporation, Dallas Buyers Club v. Does

 7 1-10, W.D. WA, case no. 2:13-cv-1153, Dkt. #5, ¶ 3; (v) Daniel Macek for MaverickEye, Cobbler

 8 Nevada v. Does 1-10, W.D. WA, case no. 2:15-cv-1404, Dkt. #6, ¶ 3; (vi) Daniel Arheidt for

 9 MaverickEye, Venice PI, LLC v. Does, W.D. WA, case no. 2:17-cv-988, Dkt. #6, ¶ 3.

10                 c.      Mr. Arheidt’s declaration is directly derived from “Darren M. Griffin”

11                         and the other Guardaley declarants.

12          108.   The current declaration of Mr. Arheidt used in W.D. WA is nearly identical to

13 declarations of Mr. Macek used in W.D. WA, both for MaverickEye and for Crystal Bay

14 Corporation, as cited from the cases cited above. That original Macek declaration from Dallas

15 Buyers Club (i.e. the current Arheidt declaration) is literally an amalgamation of the declaration of

16 William Gorfein filed in W.D. WA by Mr. Lowe, case no. 13-cv-7, Dkt. #5-1, and the declarations

17 of “Darren M. Griffin” filed in W.D. WA by Mr. Symmes, e.g. case no. 13-cv-50, Dkt. #4-1.

18          109.   Mr. Macek’s declaration in Dallas Buyers Club 2:14-cv-1153, Dkt. #5 is nearly

19 identical to Mr. Gorfein’s declaration in Canal Street Films W.D. WA, case no. 13-7, Dkt. #6-1.

20 Changes are seen in Mr. Macek’s paragraphs 5, 8, 9, 11, 14, 15, 16, and 19, some are slight, some

21 are entirely new. All 12 of the other paragraphs are identical or nearly identical to Mr. Gorfein’s

22 declaration, other than changed names, including “Crystal Bay Corporation” for “IP Squared.”

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 1          110.    Comparing “Darren M. Griffin” W.D. WA case no. 2:13-cv-50, Dkt. #4-1, to Mr.

 2 Macek, 2:14-cv-1153, paragraphs 1-5 of Macek are paragraphs 1-4 of the “Griffin” declaration.

 3 Paragraphs 7-8 of Macek are paragraphs 8-9 of the “Griffin” declaration. Paragraphs 10-12 of

 4 Macek are paragraphs 13-15 of the “Griffin” declaration. Paragraph 13 of Macek is paragraph 18

 5 of “Griffin.” Paragraph 15 of Macek is paragraph 24 of “Griffin.”

 6          111.    The current Arheidt is identical to this Dallas Buyers Club “Macek at Crystal Bay

 7 Corporation” declaration: 21 paragraphs, with the company names changed and the role changed

 8 from “software consultant” to “consultant.” E.g. case no. 17-cv-988, Dkt. #6.

 9          8.      The typed up charts of alleged infringement cannot be direct output of a

10                  computer program.

11          112.    The witnesses overlap in testimony and times of observations, but, surprisingly, the

12 format of the “typed up charts of alleged infringement” submitted with each case do not. The typed

13 up charts of alleged infringement appear to vary by plaintiff’s attorney, not by plaintiff, and not by

14 witness or by investigative company.

15          113.    For example, the charts accompanying the W.D. WA “Macek at Crystal Bay” Dallas

16 Buyers Club cases cited above all have a chart arranged in the same manner. e.g. case no. 2:14-cv-

17 1153, Dkt. #1-1. This same chart format is used in the W.D. WA “Macek at MaverickEye” Cobbler

18 Nevada cases. e.g. case no. 2:15-cv-404, Dkt. #1-1. This same format is used in the W.D. WA

19 “Arheidt at MacerickEye” Venice PI cases. E.g. case no. 17-cv-988, Dkt. #1-1.

20          114.    But, other typed up charts for those same plaintiffs, using those same declarants, are

21 different in different Districts. Use Dallas Buyers Club as an example. In D CO, Dallas Buyers Club

22 filed both “Macek at Crystal Bay” and “Macek at MaverickEye” declarations. But the typed up

23 charts of alleged infringement accompanying both forms of those D. CO declarations differs from

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         Case 2:17-cv-01731-TSZ Document 21-11 Filed 03/08/18 Page 34 of 34




 1 that filed in the W.D. WA. Indeed, the typed up charts of alleged infringement for Dallas Buyers

 2 Club differ in each District, even if the declarant remained the same. A logical conclusion from this

 3 is that the typed up charts of alleged infringement filed in each case are not direct output of the

 4 computer software that is referenced in each Motion to obtain Subpoenas.

 5          115.   Here are some of the Dallas Buyers Club jurisdictions, each with a different form of

 6 typed up chart of alleged infringement: (i) E.D. WI, 2:14-cv-359, ECF No. 1-1; (ii) N.D. CA, 3:16-

 7 cv-2939, ECF No. 1-1; (iii) N.D. IL, 1:15-cv-1770, ECF No. 1-1; (iv) D. CO, 1:14-cv-1945; (v)

 8 S.D. TX, 4:14-cv-248; (vi) D. OR 3:15-cv-2020; (vii) S.D. OH, 2:14-cv-389; (viii) M.D. FL 6:14-

 9 cv-1012; (ix) W.D. WA 2:15-579, Dkt. #1-1.

10 G.       Conclusion

11          116.   I am confident that “Darren M. Griffin” is fictitious. I am confident that “Crystal Bay

12 Corporation” of South Dakota did not employ investigators. I am confident that the declarations of

13 Mr. Lowe, Mr. Perino, and Mr. Arheidt are inconsistent with records of the United States District

14 Court, as I detail here. I would be willing to provide more information to the Court as may be

15 requested.

16          I declare under penalty of perjury of the laws of the United States that the foregoing is true

17 and correct.

18
            EXECUTED this 23rd day of February 2018.
19
                                              By:
20
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